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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: TAXOTERE (DOCETAXEL)
PRODUCTS LIABILITY LITIGATION                                                           MDL No. 2740


                                        TRANSFER ORDER


        Before the Panel: Plaintiffs in the Eastern District of Louisiana Veronica Smith and District
of Colorado Gahan actions, listed on Schedule A, move under 28 U.S.C. § 1407 to centralize pretrial
proceedings in this litigation in the Eastern District of Louisiana or, alternatively, the Southern
District of Illinois. This litigation consists of thirty-three actions pending in sixteen districts, as
listed on Schedule A. The Panel also has been notified of fifty-six related actions pending in twenty-
five districts.1

        All parties agree that centralization is warranted, but disagree as to the most appropriate
transferee district. Plaintiffs in ten actions and potential tag-along actions have responded to the
motion, and they variously argue in support of centralization in the Eastern District of Louisiana, the
Southern District of Illinois, the District of Minnesota, the Northern District of Illinois, the Southern
District of Mississippi, or the Northern District of California. Responding defendant Sanofi-Aventis
U.S. LLC (Sanofi-Aventis) suggests centralization in the District of Colorado or the District of New
Jersey or, alternatively, supports centralization in the Eastern District of Louisiana, the District of
Minnesota, or the Northern District of Illinois.

         On the basis of the papers filed and hearing session held, we find that these actions involve
common questions of fact, and that centralization in the Eastern District of Louisiana will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of this litigation.
All the actions share common factual questions arising out of allegations that Taxotere (docetaxel),
a chemotherapy drug, causes permanent hair loss, that defendants were aware of this possible side
effect and failed to warn patients, and that defendants marketed Taxotere as more effective than other
chemotherapy drugs when other drugs were equally effective without the associated permanent hair
loss. Plaintiffs in these actions each allege that they experienced permanent hair loss as a result of
using Taxotere. All actions will require discovery regarding the design, testing, manufacturing,
marketing, and labeling of Taxotere. Centralization will eliminate duplicative discovery; prevent
inconsistent pretrial rulings; and conserve the resources of the parties, their counsel, and the
judiciary.




        1
         These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
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         Given the geographic dispersal of the pending actions and the widespread nature of this
litigation, no particular district or region emerges as a clear focal point. We are persuaded that the
Eastern District of Louisiana is an appropriate transferee forum. Plaintiffs in six actions and
potential tag-along actions and responding defendant support centralization in this district, in the first
instance or in the alternative, and ten actions and potential tag-along actions already are pending
there. The Eastern District of Louisiana is an easily accessible and reasonably central district.
Additionally, Judge Lance M. Africk is a seasoned jurist who is willing and able to handle this
litigation, but who has not yet had the opportunity to preside over an MDL.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Eastern District of Louisiana are transferred to the Eastern District of Louisiana and, with the
consent of that court, assigned to the Honorable Lance M. Africk for coordinated or consolidated
pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                        __________________________________________
                                                       Sarah S. Vance
                                                           Chair

                                        Marjorie O. Rendell              Charles R. Breyer
                                        Lewis A. Kaplan                  Ellen Segal Huvelle
                                        R. David Proctor                 Catherine D. Perry
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IN RE: TAXOTERE (DOCETAXEL)
PRODUCTS LIABILITY LITIGATION                                     MDL No. 2740


                                     SCHEDULE A


          Central District of California

    COLLINS v. SANOFI S.A., ET AL., C.A. No. 2:16-05418

          Northern District of California

    DODSON v. SANOFI S.A., ET AL., C.A. No. 4:16-01251

          District of Colorado

    GAHAN v. SANOFI S.A., ET AL., C.A. No. 1:15-02777
    LEITH v. SANOFI S.A., ET AL., C.A. No. 1:16-00741

          Northern District of Illinois

    SPANN v. SANOFI S.A., ET AL., C.A. No. 1:16-03038
    PISTONE v. SANOFI S.A., ET AL., C.A. No. 1:16-04028
    TRAYLOR v. SANOFI S.A., ET AL., C.A. No. 1:16-05651
    JOHNSON v. SANOFI-AVENTIS U.S. LLC, ET AL., C.A. No. 1:16-06754
    WYSOCKI v. SANOFI S.A., ET AL., C.A. No. 1:16-07059

          Southern District of Illinois

    CHASE v. SANOFI S.A., ET AL., C.A. No. 3:16-00588
    DALTON v. SANOFI S.A., ET AL., C.A. No. 3:16-00718
    KOONTZ v. SANOFI S.A., ET AL., C.A. No. 3:16-00805

          District of Kansas

    DETRIXHE v. SANOFI S.A., ET AL., C.A. No. 2:16-02250

          Eastern District of Louisiana

    BEMISS v. SANOFI S.A., ET AL., C.A. No. 2:16-06425
    SMITH v. SANOFI S.A., ET AL., C.A. No. 2:16-07794
    WEBB v. SANOFI S.A., ET AL., C.A. No. 2:16-10763
    WALTER v. SANOFI S.A., ET AL., C.A. No. 2:16-12706
    SMITH v. SANOFI S.A., ET AL., C.A. No. 2:16-12943
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MDL No. 2740 Schedule A (Continued)

            Middle District of Louisiana

      BURNEY v. SANOFI S.A., ET AL., C.A. No. 3:16-00388

            District of Minnesota

      TOUCHI-PETERS v. SANOFI S.A., ET AL., C.A. No. 0:16-02464

            Southern District of Mississippi

      JONES v. SANOFI S.A., ET AL., C.A. No. 3:16-00288
      CARPENTER v. SANOFI S.A., ET AL., C.A. No. 3:16-00289
      CHASE v. SANOFI S.A., ET AL., C.A. No. 3:16-00404
      TOLEFREE v. SANOFI S.A., ET AL., C.A. No. 3:16-00412
      GRINES v. SANOFI S.A., ET AL., C.A. No. 3:16-00488

            Western District of North Carolina

      MOTTOLA v. SANOFI S.A., ET AL., C.A. No. 3:16-00255
      WOOD v. SANOFI S.A., ET AL., C.A. No. 3:16-00261

            Northern District of Ohio

      CARSON v. SANOFI S.A., ET AL., C.A. No. 1:16-00165

            District of South Carolina

      MEYERS v. SANOFI SA, ET AL., C.A. No. 3:16-02536
      CLINKSCALES v. SANOFI SA, ET AL., C.A. No. 6:16-02376

            Eastern District of Tennessee

      ADAMS v. SANOFI-AVENTIS, S.A., ET AL., C.A. No. 3:16-00365

            Northern District of Texas

      FREE v. SANOFI S.A., ET AL., C.A. No. 2:16-00074

            Western District of Texas

      GORNIAK v. SANOFI S.A., ET AL., C.A. No. 1:16-00637
